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11                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
12                                  SAN JOSE DIVISION
13
     In re Google RTB Consumer Privacy               Master File No. 5:21-cv-02155-YGR-VKD
14   Litigation,
                                                     JOINT POSITION CHART RE.
15
                                                     PROPOSED GOOGLE CUSTODIANS
16   This Document relates to: all actions.
                                                     Judge: Hon. Virginia K. DeMarchi
17
                                                     Hearing Date:     None set.
18                                                   Hearing Time:
                                                     Hearing Location:
19

20

21

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25               DOCUMENT FILED ENTIRELY UNDER SEAL
26
                               PER ORDER (DKT. NO. 165)
27

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     JOINT POSITION CHART RE. PROPOSED GOOGLE CUSTODIANS
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                                                   -1-                        5:21-cv-02155-YGR -VKD
